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 8                              IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                            CASE NO. CR F 93-5090 LJO
12                            Plaintiff,                  ORDER ON DEFENDANT’S MOTION FOR
                                                          RESENTENCING
13            vs.                                         (Docs. 275.)
14   BRETT KENNETH MILLER,
15                            Defendant.
                                              /
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17            This Court has reviewed defendant Brett Kenneth Miller’s (“defendant’s”) motion for
18   resentencing, filed on January 28, 2008. Defendant was sentenced in 1995. This Court no longer has
19   jurisdiction on defendant’s sentencing. See 28 U.S.C. § 2255. This Court DENIES defendant’s motion
20   for resentencing.
21            IT IS SO ORDERED.
22   Dated:         February 12, 2008                 /s/ Lawrence J. O'Neill
     b9ed48                                       UNITED STATES DISTRICT JUDGE
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